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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF ILLINOIS



 In re: PARAQUAT PRODUCTS                           Case No. 3:21-md-3004-NJR
 LIABILITY LITIGATION
                                                    MDL No. 3004
 This document Relates to All Cases

          SYNGENTA DEFENDANTS’ RULE 7.1 DISCLOSURE STATEMENT

       Pursuant to Federal Rule of Civil Procedure 7.1, Counsel of record for Syngenta

Corporation, Syngenta Crop Protection, LLC, and Syngenta Seeds, LLC (“Syngenta”) hereby

discloses the following organizational interests:

       1. Its parent companies or corporations:

              i. Syngenta Crop Protection, LLC is a wholly owned U.S. subsidiary of Syngenta
                 Seeds, LLC.

             ii. Syngenta Seeds, LLC is a wholly owned U.S. subsidiary of Syngenta
                 Corporation.

            iii. Syngenta Crop Protection, LLC, Syngenta Seeds, LLC, and Syngenta
                 Corporation are wholly owned subsidiaries, either directly or indirectly, of
                 Syngenta AG, a Swiss Corporation.

            iv. Syngenta AG is a wholly owned subsidiary of Syngenta Group Co., Ltd.

       2. No publicly held corporation owns 10% or more of Syngenta Group Co., Ltd.’s stock.



 Dated June 21, 2021                                Respectfully Submitted,

                                                    /s/ Ragan Naresh
                                                    Ragan Naresh
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                                     Counsel for Defendants Syngenta
                                     Corporation, Syngenta Seeds, LLC, and
                                     Syngenta Crop Protection LLC
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                                CERTIFICATE OF SERVICE

       I certify that on June 21, 2021, I electronically filed the foregoing with the Clerk of
this Court by using the CM/ECF system, which will provide notice to all users of record.



                                             /s/ Ragan Naresh
                                             Ragan Naresh
